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 6
                            UNITED STATES DISTRICT COURT
 7                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8
        ROBERT LOWINGER, Individually and On             NO.    2:18-cv-00201-RSM
 9      Behalf of All Others Similarly Situated,
10
                                            STIPULATION AND ORDER RE:
               Plaintiff,                   BRIEFING SCHEDULE ON (1)
11                                          PLAINTIFF’S MOTION TO
             v.                             REMAND AND (2) FUNKO
12                                          DEFENDANTS’ MOTION TO STAY
        FUNKO, INC; BRIAN MARIOTTI; RUSSELL PROCEEDINGS PENDING
13
        NICKEL; KEN BROTMAN; GINO           DECISION BY U.S. SUPREME
14      DELLOMO; CHARLES DENSON; DIANE      COURT
        IRVINE; ADAM KRIGER; RICHARD
15      MCNALLY; GOLDMAN, SACHS & CO.; J.P.
        MORGAN SECURITIES LLC; MERRILL
16      LYNCH, PIERCE, FENNER & SMITH
        INCORPORATED; PIPER JAFFRAY & CO.;
17
        JEFFERIES LLC; STIFFEL, NICOLAUS &
18      COMPANY, INCORPORATED; BMO
        CAPITAL MARKETS CORP.; SUNTRUST
19      ROBINSON HUMPHREY, INC.; and JOHN
        DOES 1 THROUGH 25,
20
               Defendants.
21

22
                                       I.     STIPULATION
23
            Plaintiff Robert Lowinger (“Plaintiff”) and Defendants Funko, Inc. (“Funko”), Brian
24
     Mariotti, Russell Nickel, Ken Brotman, Gino Dellomo, Charles Denson, Diane Irvine, Adam
25

26
                                                                      SAVITT BRUCE & WILLEY LLP
27    STIPULATION AND ORDER RE: BRIEFING SCHEDULE                     1425 Fourth Avenue Suite 800
      ON (1) PLAINTIFF’S MOTION TO REMAND AND (2)                    Seattle, Washington 98101-2272
      FUNKO DEFENDANTS’ MOTION TO STAY                                        (206) 749-0500
      PROCEEDINGS PENDING DECISION BY U.S. SUPREME
      COURT - 1
      (No. 2:18-cv-00201-RSM)
             Case 2:18-cv-00201-RSM Document 18 Filed 03/01/18 Page 2 of 3



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     Kriger, and Richard McNally (collectively, the “Funko Defendants”), by and through their
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     undersigned counsel of record, hereby stipulate and agree as follows:
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             1.     On February 27, 2018, Plaintiff filed a Motion for Remand, with a Note on
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     Motion Calendar date of April 13, 2018 (the “Motion for Remand”).
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             2.     On February 27, 2018, the Funko Defendants filed a Motion to Stay Proceedings
 6
     Pending Decision by U.S. Supreme Court, with a Note on Motion Calendar date of April 13,
 7
     2018.
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             3.     Plaintiff and the Funko Defendants stipulate to the following schedule for the
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     remaining briefing on the (1) Motion for Remand and (2) Motion to Stay:
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             (a)    Plaintiff’s brief in opposition to the Motion to Stay, together with any
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     supporting material, and Funko Defendants’ brief in opposition to the Motion for Remand,
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     together with any supporting material, shall be filed and served no later than March 30, 2018;
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     and
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             (b)    Plaintiff’s brief in reply in support of the Motion for Remand, together with any
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     supporting material, and Funko Defendants’ brief in reply in support of the Motion to Stay,
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     together with any supporting material, shall be filed and served no later than April 9, 2018
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             SO STIPULATED AND AGREED this 28th day of February, 2018.
18

19    KELLER ROHRBACK L.L.P.                              SAVITT BRUCE & WILLEY LLP

20    By /s/ Juli E. Farris [email authorization]         By /s/ Stephen C. Willey
        T. David Copley, WSBA #19378                        Stephen C. Willey, WSBA #24499
21      Juli E. Farris, WSBA #17593                         1425 Fourth Avenue, Suite 800
22
        Elizabeth A Leland, WSBA #23433                     Seattle, WA 98101
        1201 Third Avenue, Suite 3200                       Tel: (206) 749-0500
23      Seattle, WA 98101                                   Email: swilley@sbwllp.com
        Tel: (206) 623-1900
24      Email: dcopley@kellerrorhback.com
        Email: jfarris@kellerrohrlback.com                LATHAM & WATKINS LLP
25
        Email: bleland@kellerrohrback.com                   Benjamin Naftalis, pro hac vice
26                                                          Kevin McDonough, pro hac vice
                                                                         SAVITT BRUCE & WILLEY LLP
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      FUNKO DEFENDANTS’ MOTION TO STAY                                           (206) 749-0500
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      COURT - 2
      (No. 2:18-cv-00201-RSM)
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 1    Of Counsel                                         885 Third Avenue
      STULL, STULL & BRODY                               New York, NY 1022-4834
 2
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 3     Michael J. Klein (PHV to be filed)                Email: benjamin.naftalis@lw.com
       6 East 45th Street                                Email: kevin.mcdonough@lw.com
 4     New York, NY 10017
       Tel: (212) 687-7230                             Attorneys for Defendants Funko, Inc.;
 5     Email: abrody@ssbny.com                         Brian Mariotti; Russell Nickel; Ken
 6
      Email: mklein@ssbny.com                          Brotman; Gino Dellomo; Charles Denson;
                                                       Diane Irvine; Adam Kriger; and
 7   Attorneys for Plaintiff Robert Lowinger           Richard McNally

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                                               ORDER

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            In accordance with the foregoing stipulation, it is so ORDERED.

12          DATED: March 1, 2018.

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                                               RICARDO S. MARTINEZ
16                                             CHIEF UNITED STATES DISTRICT JUDGE
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                                                                     SAVITT BRUCE & WILLEY LLP
27    STIPULATION AND ORDER RE: BRIEFING SCHEDULE                    1425 Fourth Avenue Suite 800
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      FUNKO DEFENDANTS’ MOTION TO STAY                                       (206) 749-0500
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